Case 1:15-cv-07433-LAP Document 1327-18 Filed 01/05/24 Page 1 of 5




                     EXHIBIT F
       Case 1:15-cv-07433-LAP Document 1327-18 Filed 01/05/24 Page 2 of 5




                        Search Terms Defendant Has Already Searched

From Plaintiff’s June 30th proposed list:
(note: Plaintiff’s numbers have been used)

1) jef*
2) geof*
3) epst! !n*
4) jeevacation*
5) j* w/2 *jep*
6) j* w/2 *jeep*
7) roberts*
8) g!!ff!!*
9) virginia*
10) jenna*
11) jena*
12) genna*
13) andrew*
14) prince*
15) royal*
22) massage*
23) masseur*
24) therapist*
26) mindspring*
28) emmy*
29) taylor*
30) sara*
31) kellen*
32) kensington *
33) vikers*
34) dubin*
35) eva*
36) glen*
37) brunel*
38) jean*
39) luc*
40) nadia*
41) marcinko*
42) *copter*
43) chopper*
44) pilot*
45) manifest*
46) log*
47) flight*
48) passport*
52) state* /3 attorney*
53) ross*
54) gow*
55) acuity*
56) victoria* w/3 secret*

                                             1
       Case 1:15-cv-07433-LAP Document 1327-18 Filed 01/05/24 Page 3 of 5



57) al!n*
58) all!n*
59) dersh*
60) law.harvard.edu *
61) alandersh*
Jane Doe 2

73) lago*
74) clinton*
75) BC
76) HC
77) HRC
78) police*
79) cop*
80) fbi*
81) federal* w/3 bur*
82) bur* w/8 inves! *
83) sex*
84) abuse*
85) toy*
86) dildo*
87) strap* w/3 on*
88) vibr*
89) sm* w/3 101 *
90) slave*
91) erotic*
92) servitude*
95) high* w/3 school*
96) secondary* w/3 school*
97) campus*
98) duke*
99) york*
100) licen!e*
101) assault*
102) juvenile*
103) seal*
104) joint* w/3 defen*
105) jda
106) roadhouse*
107) grill*
108) illegal*
109) immune*
110) prosecut*
111) law* w/3 enforc*
112) jane* w/3 *doe*
117) model*
118) actress*
123) vanity* w/ 3 fair*
342) underage*

                                       2
        Case 1:15-cv-07433-LAP Document 1327-18 Filed 01/05/24 Page 4 of 5



343) under!age*
344) minor*
345) daily* w/10 mail*
346) daily* w/10 news*
347) lie*
348) obvious* w/10 lie*
349) sex w/3 toy*
350) nipple*
351) schoolgirl
352) school w/3 girl
353) us w/3 att*
354) United w/3 states w/3 att*
356) Pedophil*
357) Paedophil*
359) Traffic*
362) Masturbate*
363) Ejaculate*
364) Masseuse*

From Plaintiff’s July 20 proposed list
    x    Alessi
    x    Biddle
         Jane Doe 2

    Ix -Brunel
    Ix -Casey (this is a sur-name to Caroly Casey)
    x    Chambers
    x    Cordero
    x    Cotrin
    x    Cousteau
    x    Davies
    x    DeGeorgieou
    x    Dionne
    x
    x
    x
    x
    x
         -
         Dubin
         Jane Doe 2


         Espinoza
         Farmer
         Ward
    x    Fekkai
    x    Figueroa
    x    Fontanilla
    x    Friedman
    x    Gibson-Butte
    x    Gramza
    x    Gany
    x    Grant
    x    Groff

                                                     3
    Case 1:15-cv-07433-LAP Document 1327-18 Filed 01/05/24 Page 5 of 5



     Jane Doe


Ix -Hazel (surname of Claire Hazel)
x    Harrison (surname of Shelley Harrison)
x    Ignatieva
     Jane Doe 2
I
x    Kovylina
I    Jane Doe 2
I
x    Liffman
x    Lopez (surname of Cindy Lopez)
x    Lutz
x    Lynch (surname of Cheri Lynch)
x    Meister
x    Mellawa
x    Minsky
x    Mitrovich
x    Jane Doe 2

x    Mullen
x    Pagano
x    Paluga
x    Peadon
x    Pritzker
x    Preece
x    Rabuyo
x    Rizzo
x    Robson
x    Ross (surname of Adriana)
x    Mucinska (former surname of Adriana)
x    Sjoberg
x    Spamm
x    Stein (surname of Cecilia)
x    Taylor
x    Valdes (surname of Cresenda)
x    Vazquez
x    Valenzuela
x    Visosky
x    Wexner
x    Wild (surname of Courtney)
x    Zinoview




                                              4
